 

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 5:19-cv-40

PROOF OF SERVICE

(This section should not be filed with the “Ay unless aeoty i
Comtne meg tH if as Ga yp LC
This summons for (name of individual and title, if any)
was received by me on (date) ol: “/ ao / G
mt F

C1 I personally served the summons on the individual at (place)

 

 

 

on (daie)

 

© T left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

x served the summons on (name of individual) Laur ev) / hav | éS , who is

designated by law to accept service of process on behalf of (name of organization)
AssouatsS Grovp, LLC on tae) ASI DOUG 30"

C1 I returned the summons unexecuted because ‘or

 

Cl Other (specify):

My fees are $ for travel and $ = for services, for a total of $ (0s 00 .

I declare under penalty of perjury that this information is tr

we: 9/5/9019 Amal J ‘iile

Server ‘ssignature

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Server 'gaddress

     

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

LeVon Hodges

 

Plaintiff(s)

Vv. Civil Action No, 5:19-cv-40

Commonwealth Associates Group, LLG

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

‘To: (Defendant's name and address) Commonwealth Associates Group, LLC
c/o DAVID RUEDLINGER
5245 CLEVELAND ST SUITE 207
VIRGINIA BEACH VA 23462

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Joshua A. Mize

Mize Law, PLLC
110 Front St., Suite 300
Jupiter, FL 33477

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Elizabeth M. Warren

Date: _ Feb 01, 2019

 
